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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MARYLAND

COMPASS MARKETING, INC.                   :
105 Eastern Avenue                        :    Case Number: 22-cv-00379
Annapolis, Maryland 21403                 :
(Anne Arundel County),                    :
                                          :
                 Plaintiff,               :
      v.                                  :
                                          :
FLYWHEEL DIGITAL LLC                      :
1249 Algonquin Road                       :
Crownsville, Maryland 21032               :
(Anne Arundel County),                    :
                                          :
JAMES COLUMBUS “CHIP” DIPAULA, JR.        :
                                          :
11 Devon Hill Rd, Unit 4B
                                          :
Baltimore, Md 21210
                                          :
(Baltimore County),                       :
                                          :
PATRICK MILLER                            :
743 Bywater Road                          :
Gibson Island, Md 20008                   :
(Anne Arundel County),                    :
                                          :
DANIEL WHITE                              :
21900 Fairway Drive                       :
Leonardtown, Maryland 20659               :
(St. Mary’s County),                      :
                                          :
MICHAEL WHITE                             :
39650 Hiawatha Circle                     :
Mechanicsville, Maryland 20659            :
                                          :
(St. Mary’s County),
                                          :
GEORGE WHITE                              :
                                          :
15125 Woodville Road
                                          :
Waldorf, Maryland 20601
                                          :
(Charles County), and                     :
                                          :
                                          :
                                          :
                                          :
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ASCENTIAL PLC,                                      :
The Prow, 1 Wilder Walk, London, England            :
W1B 5AP.                                            :
                                                    :
                   Defendants.                      :




     COMPASS MARKETING, INC.’S CORPORATE DISCLOSURE STATEMENT


       Pursuant to Federal Rule of Civil Procedure 7.1 and Local Rule 103.3, Plaintiff Compass

Marketing, Inc. (“Compass”) hereby confirms that as a nongovernmental corporate party in the

above listed civil action, it does not have a parent corporation nor does it have a publicly held

corporation that owns 10% or more of its stock.

Dated: February 14, 2022              Respectfully submitted,


                                      /s/ Steven A. Luxton, Esq.            .
                                      Steven A. Luxton, Esq.
